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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

 MATAN GOLDSTEIN,                         )
                                          )
       Plaintiff,                         )
                                          )
 v.                                       )     Case No. 3:24-cv-00036-RSB-JCH
                                          )
 THE RECTOR AND VISITORS OF THE           )
 UNIVERSITY OF VIRGINIA, et al.,          )
                                          )
       Defendants.                        )

  DEFENDANTS THE RECTOR AND VISITORS OF THE UNIVERSITY OF VIRGINIA,
       RECTOR ROBERT D. HARDIE, AND PRESIDENT JAMES E. RYAN’S
  MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS THE COMPLAINT
         FOR LACK OF STANDING AND FAILURE TO STATE A CLAIM
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        Defendants The Rector and Visitors of the University of Virginia (“UVA” or “University”),

 Rector Robert D. Hardie (“Rector” or “Hardie”), and President James E. Ryan (“President” or

 “Ryan”) (collectively, the “UVA Defendants”), move to dismiss Plaintiff’s Complaint with

 prejudice for lack of standing under Federal Rule of Civil Procedure 12(b)(1) and failure to state

 a claim under Federal Rule of Civil Procedure 12(b)(6). In support of this Motion, Defendants

 state as follows:

                                         INTRODUCTION

        The Complaint should be dismissed for lack of standing and failure to state a claim against

 UVA under Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, and against the Rector

 and President under 42 U.S.C. §§ 1981 and 1983 in their individual or official capacities, on the

 theories of (1) intentional discrimination, (2) retaliation, or (3) harassment/hostile environment.1

 Plaintiff fails to allege standing because he has not pled a particularized injury, traceability to the

 UVA Defendants or redressability. Plaintiff alleges no intentional discrimination by any UVA

 Defendant. Plaintiff alleges no facts to support a retaliation claim. Plaintiff’s hostile environment

 harassment claims fail because Plaintiff has not alleged facts showing severe, pervasive and

 objectively offensive harassment—indeed, his allegations appear to solely complain of protected

 speech not directed specifically at Plaintiff; he has not sufficiently alleged actual knowledge by

 the UVA Defendants; he has not alleged any deprivation of educational benefits; he has not alleged

 facts showing deliberate indifference by the UVA Defendants; and he has not alleged any facts

 that Hardie or Ryan were motivated by discriminatory intent. Additionally, Plaintiff’s claims

 against Hardie and Ryan are barred by the Eleventh Amendment and qualified immunity.



 1
   Plaintiff names the Rector and President as defendants only in their individual capacities.
 Nonetheless, Plaintiff in Paragraph 2(c) of the Complaint alleges claims against the Rector and
 President “in their individual, personal, and official capacities.” (Compl. ¶ 2(c).)
                                                   1
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        UVA condemns and prohibits discrimination on the basis of race or national origin,

 including antisemitism. UVA supports its Jewish students, including Plaintiff, and other students’

 First Amendment rights to free speech and free exercise of religion. UVA’s support and care for

 its students is misconstrued and mischaracterized in the Complaint. While the Court can but does

 not need to take judicial notice to dismiss this Complaint, the University Defendants provide public

 reporting of additional facts that further support the dismissal of this Complaint. The Court should

 not be left with allegations that are untrue. The UVA Defendants take concerns of antisemitism

 very seriously and are prepared to intervene to de-escalate situations and pursue disciplinary

 action. However, Goldstein’s Complaint fails to allege any actionable claims under Title VI or 42

 U.S.C. §§ 1981, 1983 —regarding antisemitism or otherwise—and must be dismissed.

                                   FACTUAL BACKGROUND

        UVA is an institution of higher education offering undergraduate and graduate programs

 of study with its principal Grounds in the City of Charlottesville and the County of Albemarle,

 Virginia. The University is an agency and instrumentality of the Commonwealth of Virginia under

 the name and style of “the Rector and Visitors of the University of Virginia.” Va. Code § 23.1-

 2200 et seq. The University has nearly 26,000 undergraduate, graduate, and professional students

 across an Academic Division with 12 Schools and the College at Wise.

        The University has adopted a comprehensive Notice of Non-Discrimination and Equal

 Opportunity (Notice of Non-Discrimination) that, among other things, prohibits discrimination and

 harassment on the basis of religion, national origin, and ethnicity.2 In addition to the Notice of

 Non-Discrimination, the University maintains a policy that prohibits discrimination and



 2
   See University of Virginia, Office for Equal Opportunity and Civil Rights, Notice of Non-
 Discrimination and Equal Opportunity (October 2023), https://eocr.virginia.edu/notice-non-
 discrimination-and-equal-opportunity.
                                                  2
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 harassment on the basis of protected characteristics, specifically including religion, national origin,

 and ethnicity (PADH).3 The University also maintains a policy that prohibits any adverse action

 against any individual who complains about discrimination or harassment or who assists or

 participates in a resolution process (PAR).4 The University’s PADH and PAR polices contain

 requirements for University personnel to prevent prohibited conduct, ensure compliance

 obligations, provide access to complaint procedures and forms, and supply contact information for

 the University’s Office for Equal Opportunity and Civil Rights (EOCR), the office responsible for

 administering and enforcing the PADH and PAR policies. The University’s EOCR office

 maintains information and resources for prevention, education, and training.5 The University

 requires training of all employees on its PADH and PAR policies. New employees complete

 training upon hiring and then enroll in re-training every two years.6

        Consistent with federal and state law, the University also maintains robust protection for

 freedom of expression. In June 2021, the University’s Board of Visitors adopted the University’s

 Statement on Free Expression and Free Inquiry, which was affirmed by the University’s Faculty

 Senate in April 2022.7 In furtherance of its protection of the freedom of expression, the University

 maintains reasonable time, place, and manner restrictions on public speaking, expressive activity,




 3
   University of Virginia, UVA Policy, HRM-009: Preventing and Addressing Discrimination and
 Harassment (PADH) (September 7, 2021), https://uvapolicy.virginia.edu/policy/HRM-009.
 4
   University of Virginia, UVA Policy, HRM-010: Preventing and Addressing Retaliation (PAR)
 (July 20, 2021), https://uvapolicy.virginia.edu/policy/HRM-010.
 5
   See, e.g., University of Virginia, Office for Equal Opportunity and Civil Rights, Prevention,
 Education, and Training, https://eocr.virginia.edu/prevention-and-training; and id., PADHR
 Training FAQ, https://eocr.virginia.edu/padhr-training-faq.
 6
   University of Virginia, Office for Equal Opportunity and Civil Rights, Prevention, Education,
 and Training, https://eocr.virginia.edu/prevention-and-training.
 7
   University of Virginia, Free Speech, Statements on Free Expression and Free Inquiry (April
 2022), https://freespeech.virginia.edu/statement-free-expression-and-free-inquiry.
                                                   3
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  and the distribution of literature.8 The University’s policy is consistent with federal and state law

  codified in Virginia Code § 23.1-401 and -401.1.

         Defendant Students for Peace and Justice in Palestine at UVA (named in error as “Students

  for Justice in Palestine at UVA”) is a Contracted Independent Organization (CIO).9 Defendant

  Faculty for Justice in Palestine at UVA is not a CIO. CIOs are formed by University students to

  offer educational, service, and social opportunities.10       Membership is typically comprised

  primarily of students, faculty, staff, alumni, but limited community membership in the

  organizations is possible. Pursuant to UVA’s established policy, CIOs operate independent of the

  University and are not agents, servants, or employees of the University. They do not have the

  authority to act for or commit the University to any activity, transaction, or agreement. The

  University does not supervise, direct, or control CIOs’ activities. Further, a CIO understands and

  agrees that the University, the Commonwealth of Virginia, and its employees and agents will not

  be liable for injuries or harm caused to anyone in connection with or arising out of the CIO’s

  activities, nor will they be liable for any of the CIO’s contracts, torts, or other acts or omissions,

  or those of the CIO’s directors, officers, members, advisors, coaches, staff, activity participants,

  or any other persons associated with the CIO.

          UVA’s Response to the Israel-Palestine Conflict during the 2023-24 School Year

         The UVA Defendants agree, as Goldstein alleges, that on October 7, 2023, Hamas, a

  terrorist group, launched a horrific, premeditated, and large-scale terrorist attack on Israel,



  8
    University of Virginia, UVA Policy, PRM-017: Duties Toward Speakers and Use of University
  Facilities or Property (February 16, 2024), https://uvapolicy.virginia.edu/policy/PRM-017.
  9
       University of Virginia, Students for Peace and Justice in Palestine,
  https://virginia.presence.io/organization/students-for-peace-and-justice-in-palestine-2.
  10
     See University of Virginia, UVA Policy, STAF-002: Terms and Conditions for Contracted
  Independent       Organizations     and      Fraternal    Organizations      (July     6, 2023),
  https://uvapolicy.virginia.edu/policy/STAF-002.
                                                    4
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  resulting in over 1,200 dead and 5,000 wounded, in addition to other atrocities. (Compl. ¶¶ 67-

  69.) Goldstein alleges that many of those harmed were “family members and friends of many

  UVA students and faculty.” (Id. ¶ 71.) The UVA Defendants recognize that the attacks and the

  ensuing turmoil, around the world, have caused many students, including the Plaintiff, significant

  grief and concern. To that end, the UVA Defendants and many other UVA officials have gone to

  extensive lengths to demonstrate care and sympathy for those affected and to offer supportive

  resources where they can be useful.

           The Court may take judicial notice11 of additional facts and events not alleged in the

  Complaint regarding UVA’s response to the attack and support for its Jewish students12:

          On October 7, 2023, after Hamas’ terrorist attack, the University’s Interim Vice President
           for Student Affairs and its Vice Provost for Global Affairs wrote to the University’s
           impacted international students to express support and concern. In that communication,
           they encouraged students to access mental health and academic support resources. They
           reassured students that staff are ready to assist 24 hours a day, seven days a week.13

          On October 10, 2023, approximately 300 people attended a
           candlelight vigil at UVA’s Amphitheatre in response to the
           October 7th terrorist attacks. The vigil was organized by
           Jewish students and student organizations, including the
           Brody Jewish Center and Chabad House.14

          On October 11, 2023, President Ryan issued a statement to the University community in
           which he expressed his concern for the well-being of members of the University


  11
     Falwell v. Liberty Univ., Inc., No. 6:23-CV-11-RSB, 2023 WL 4867432, at *1 n.2 (W.D. Va.
  July 31, 2023). While the Court can but does not need to take judicial notice to dismiss this
  Complaint, the University Defendants provide factual allegations that further expose why this
  Complaint should be dismissed.
  12
     UVA here solely seeks to address Plaintiff’s contention that UVA disregarded its Jewish
  students, and does not include events and actions related to addressing Islamophobia.
  13
     Jane Kelly, UVA Diplomatic Expert on the Implications of War Between Israel and Hamas,
  University of Virginia, UVAToday (October 9, 2023), https://news.virginia.edu/content/uva-
  diplomatic-expert-implications-war-between-israel-and-hamas.
  14
     Caroline Hagood, Community members gather in support of Israel after attacks, The Cavalier
  Daily (October 11, 2023), https://www.cavalierdaily.com/article/2023/10/community-members-
  gather-in-support-of-israel-after-attacks.
                                                   5
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           community who were impacted by the terrorist attacks. He also condemned Hamas and the
           horrific violence against civilians, including children.15

          On October 31, 2023, the University announced various educational programming
           beginning that week related to the conflict in the Middle East.16 The University’s Provost
           also launched a website to provide a central platform for publications and announcements
           related to the conflict and information about upcoming educational events.17

          On October 27 and November 2, 2023, a Jewish student
           group conducted an event on Grounds to raise awareness
           for individuals held hostage by Hamas.18

          On November 6, 2023, the University’s executive
           leadership provided the University community with an
           Update on the University’s response to the Middle East
           conflict.19 With regard to safety, the update confirmed that:

                  It is important to note that, as of this writing, the University has not received
                  any reports of violence, or credible threats to physical safety, or other
                  criminal activity in connection with the Oct. 7 attacks or the ensuing war.
                  We recognize, however that the turmoil in the Middle East and the increase
                  in demonstrations on our Grounds have inspired real concerns for members
                  of our community about Antisemitism, Islamophobia, and other potential
                  threats to their safety and well-being.

           The Update then expressly restated the University’s prohibition on discrimination
           and harassment, including a link to the PADH policy, and a link to the University
           on-line reporting platform, Just Report It:

                  To be perfectly clear, Antisemitism, Islamophobia, or any other
                  discrimination or harassment have no place at UVA. The University’s

  15
     Ryan Appeals for Compassion, Offers Support in Aftermath of Attacks in Israel , University of
  Virginia, UVAToday (October 11, 2023), https://news.virginia.edu/content/ryan-appeals-
  compassion-offers-support-aftermath-attacks-israel.
  16
     Bethanie Glover, UVA Sets Educational Programming Related to Conflict in the Middle East
  University of Virginia, UVAToday (October 31, 2023), https://news.virginia.edu/content/uva-
  sets-educational-programming-related-conflict-middle-east.
  17
      University of Virginia, Office of the Executive Vice President and Provost, Events,
  https://provost.virginia.edu/subsite/current-events-academic-programs/events.
  18
     Caroline Hagood, Jewish students on Grounds organize balloon installation to honor hostages,
  The Cavalier Daily (November 4, 2023), https://www.cavalierdaily.com/article/2023/11/jewish-
  students-on-grounds-organize-balloon-installation-to-honor-hostages.
  19
     UVA Leaders Offer Update on Response to Middle East Conflict, University of Virginia, UVA
  Today (November 6, 2023), https://news.virginia.edu/content/university-statement-war-gaza-and-
  its-effects-students.
                                                     6
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          On January 18, 2024, President Ryan issued a video statement to the University community
           in which he directly addressed the ongoing conflict in the Middle East. President Ryan
           acknowledged the tragic loss of life, including members of the University community who
           have lost friends and family in the conflict. President Ryan acknowledged the increase
           across the county in antisemitism and Islamophobia, including discrimination and
           harassment on the basis of nationality. He stated: “To be clear, these and any other
           forms of bigotry have no place in our Grounds.” He encouraged the University
           community to listen generously and with grace, reminding students and faculty “that the
           right to say something doesn’t always mean it’s right to say it. . . . Our world right now
           could use more understanding, more empathy, more light than heat, and more dedication
           to the unbiased search for truth.”20

          In January 2024, the University announced the continuation of various educational
           opportunities focused on the Middle East conflict, including more than a dozen new
           courses, seminars, and discussions to help students, faculty and members of the community
           better understand the conflict.21

          On February 25, 2024, 300 people
           gathered for a Shabbat dinner to
           celebrate the Jewish community on
           Grounds including members of
           UVA Administration. 22

          In early April, Rector Hardie requested a board briefing on investigations on Grounds, and
           what the University is doing to care for members of the community, specifically regarding
           the reports of antisemitic attacks. After the meeting, Rector Hardie released a public
           statement stating, “The University Board of Visitors and the administration are united
           in our opposition to antisemitism and all forms of discrimination . . . We care deeply
           for our students and are committed to supporting all members of our community as we




  20
     Ryan: Spring Semester Will Be a Time for Learning, Growing, Celebrating, University of
  Virginia, UVAToday (January 17, 2024), https://news.virginia.edu/video/ryan-spring-semester-
  will-be-time-learning-growing-
  celebrating?utm_source=DailyReport&utm_medium=email&utm_campaign=news.
  21
     Mike Mather, UVA Will Offer More Opportunities To Understand the Middle East Conflict,
  University of Virginia, UVAToday (January 17, 2024), https://news.virginia.edu/content/uva-will-
  offer-more-opportunities-understand-middle-east-
  conflict?utm_source=DailyReport&utm_medium=email&utm_campaign=news.
  22
     Brody Jewish Center-Hillel at UVa, Shabbat 300 is back!, Facebook (February 26, 2024),
  https://www.facebook.com/story.php/?story_fbid=425627890028629&id=100077442645642&_r
  dr. The Brody Jewish Center, Hillel at the University of Virginia, is the focal point in a renaissance
  of Jewish life for the estimated 1,000 Jewish undergraduates on Grounds. Brody Jewish Center –
  Hillel at UVA, About Us, https://www.brodyjewishcenter.org/about-us.html.
                                                    8
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           continue to work through a deeply difficult time that is affecting our community and
           countless others around the world” (emphasis added).23

          On April 3, 2024, the UVA Jewish Leadership Advisory Board24 sent a letter to the Board
           of Visitors that included the following statements:
                   o [W]e feel supported by the University’s administration in issues
                       surrounding Jewish students around Grounds.
                   o In the isolated incidents where student safety has been threatened, we
                       have full confidence in the leadership of Chief Timothy Longo.
                   o We, the Jewish Leadership Advisory Board, fully reject the notion that
                       Rector Hardie has acted in ways which have harmed our community. It
                       would be a disgrace if Rector Hardie is forced to resign as a result of
                       deceitful politics.
                   o We remain grateful to the University administration, including
                       President Ryan, Provost Baucom, and Dean Rucker, for all that they
                       have done regarding the safety and well-being of Jewish students.25

          In late April 2024, Ian Baucom, sent a message to the school’s academic deans asking them
           to remind faculty that, “while students have a right to protest, UVA will continue with
           regular academic operations during this week’s walkout and that course instruction was
           expected to continue.”26 And “in response to the report of a class having been canceled in
           contravention of that expectation, the Provost’s office and School Dean will address this
           matter with the faculty member in question and undertake disciplinary measures if the
           instructor is found to have violated University policy.”27



  23
     Emily Hemphill, A campaign is calling on UVa’s rector to resign. But who is funding it?, The
  Daily Progress (April 6, 2024), https://dailyprogress.com/news/local/education/a-campaign-is-
  calling-on-uvas-rector-to-resign-but-who-is-funding-it/article_4518c63a-ed14-11ee-9d1d-
  bf74121b4a22.html.
  24
     JLAB is composed of students elected to govern the Hillel Jewish Leadership Council. This
  organization plans programming for Jewish students on Grounds, and carries out the Brody Jewish
  Center’s self-proclaimed mission of empowering Jewish students to take ownership of their
  identity.     Brody Jewish Center – Hillel at UVA, About Student Leadership,
  https://www.brodyjewishcenter.org/student-leaders.html. JLAB oversees the largest Jewish
  organization of Jewish students in Charlottesville, serving roughly 700 students each year with
  over 100 students regularly attending weekly events.
  25
     Thomas Baxter, Jewish Leadership Advisory Board criticizes politicization of Jewish student
  experiences, The Cavalier Daily (April 16, 2024),
  https://www.cavalierdaily.com/article/2024/04/jewish-leadership-advisory-board-criticizes-
  politicization-of-jewish-student-experiences, citing to April 3, 2024 letter To the Board of
  Visitors, https://drive.google.com/file/d/1TD0V7M2UFJI7hFSPu9ZEh9KkD4UjMx-r/view.
  26
     Haley Cohen, UVA professor cancels class to support BDS as referendum passes, Yahoo!News,
  JewishInsider (March 1, 2024), https://www.yahoo.com/news/uva-professor-cancels-class-
  support-084209510.html?guccounter=1.
  27
     Id.
                                                   9
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           On May 8, 2024, contrary to the suggestion in Compl.
           ¶ 211 that students ambushed and intimidated Jews and
           Israelis including the Plaintiff, students actually
           confronted the UVA President for the University’s
           investment in Israel and actions with regard to anti-Israel
           protesters on May 4, 2024.28

          In May 2024, after University and State police shut down a pro-Palestinian protest that
           violated University policies, UVA’s Division of Student Affairs referred eleven students
           to the University of Virginia’s student-run Judiciary Committee for violations of the
           University’s standard of conduct.29

  In sum, dozens of publicly available facts and sources show that contrary to Plaintiff’s allegations,

  UVA supports all of its students, including its Jewish students, even as UVA and its students have

  actively engaged with the ongoing conflict in the Middle East.

                         Plaintiff’s Allegations of General Harassment at UVA

           Plaintiff Matan Goldstein (“Goldstein”) is a second generation Israeli-American—the first

  member of his family to be born in the United States. (Compl. ¶ 15.) He is both ethnically and

  religiously Jewish, and describes himself as having “deep faith and spiritual conviction” (id.),

  which “play a significant and cherished part of his identity” (id. ¶ 16). He openly practices his

  faith by wearing a Yarmulke and a necklace bearing the Star of David. (Id. ¶ 17.)

           Goldstein alleges that after the October 7, 2023 attack, Hamas and its U.S.-based supporters

  began an “offensive campaign” intended to advance an “antisemitic” and “anti-Israeli” objective,




  28
      Jason Armesto, Students confront UVa President Jim Ryan, demand answers after police
  crackdown        on     protestors,      The       Daily     Progress     (May      9,     202),
  https://dailyprogress.com/news/local/education/students-confront-uva-president-jim-ryan-
  demand-answers-after-police-crackdown-on-protesters/article_7ae0ea66-0e4f-11ef-a08e-
  5bd6e13efa4e.html.
  29
     Jason Armesto, UVa withholds degrees from students who participated in pro-Palestine protest,
  The Daily Progress (July 3, 2034), https://dailyprogress.com/news/local/education/uva-withholds-
  degrees-from-students-who-participated-in-pro-palestine-protest/article_ca695bb2-34ca-11ef-
  b74c-ff23e8b899af.html.
                                                   10
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  including offensive social media posts and other types of on-campus harassment across the U.S.,

  including at UVA. (Id. ¶¶ 76-77.)

            On October 8, 2023, at 8:43 a.m., Goldstein alleges that Students for Justice in Palestine at

  UVA (“SJP”) posted an Official Statement online, co-signed by numerous student organizations.

  (Id. ¶¶ 82-85.) Goldstein includes a screenshot of the statement in his Complaint. (Id. ¶ 82.) The

  Statement called the October 7 attack on Israel an “unprecedented feat,” which Goldstein alleges

  is offensive, anti-Israel, and antisemitic. (Id.) Goldstein does not allege whether he saw this post,

  how long it was posted, whether the post was taken down, and whether he reported the post to

  UVA Defendants, UVA Police, EOCR, or Just Report It.

            Goldstein alleges that beginning on October 8, 2023, flyers and posters were distributed or

  posted around Grounds,30 which included images that seemed to celebrate Hamas’ attack on Israel,

  and words or phrases Goldstein found antisemitic and anti-Israel. (Id. ¶ 103.) For example, one

  poster referred to “Decolonization,” which Goldstein believes represented “a call for violence

  against Jews and Israelis.” (Id. ¶ 104.) Goldstein does not allege whether he saw this poster,

  where the poster was located, who posted the poster, how long it was posted, and whether he

  reported the poster to UVA Defendants, UVA Police, EOCR, or Just Report It. Another phrase

  used was “Intifada Revolution – There is only One Solution,” which Goldstein alleges is

  antisemitic because it “calls for the destruction and elimination of Jewish peoples globally.” (Id.

  ¶ 123.) Again, Goldstein does not allege who, when, or where this phrase was used, or whether

  he heard or saw the phrase. Goldstein does not allege whether he reported the phrase to the UVA

  Defendants, UVA Police, EOCR, or Just Report It.




  30
       At UVA, the physical university campus is referred to as “Grounds.”
                                                     11
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         Sometime in October 2023, a poster with the phrase, “From the River to the Sea, Palestine

  will be Free” was visible on a dormitory door. (Id. ¶ 122.) Goldstein alleges that this phrase is

  “intended to instill fear and trepidation into the hearts and minds of Jewish people” and is a “call

  to genocide.” (Id.) Goldstein does not allege whether he saw this poster, where the poster was

  located, who posted the poster, how long it was posted, or whether he reported the poster to the

  UVA Defendants, UVA Police, EOCR, or Just Report It.

         On an unidentified date, the UVA Student Council President posted a social media post

  containing “Bloody Handprint” imagery, which Goldstein alleges refers to a terrorist event in

  which two Israelis were tortured, mutilated, and murdered by a Hamas terrorist. (Id. ¶ 125.)

  Goldstein characterizes this post as “antisemitic and plainly threatening,” although he does not

  allege when he saw it or whether he interacted with it. (Id.) Goldstein does not allege whether he

  reported the post to UVA Defendants, UVA Police, EOCR, or Just Report It.

         Goldstein alleges that pro-Hamas, antisemitic UVA students, joined by faculty and

  administrators, “staged and managed multiple aggressive, disruptive protests and other riotous

  acts,” which “occurred on a weekly, if not daily[] basis,” on Grounds. (Id. ¶¶ 140-41.) He further

  alleges that faculty and students published “offensive slurs and threats on various physical and

  online platforms,” which celebrated and endorsed violence against Jews and Israelis, and that

  antisemitic posters and markers were posted on Grounds. (Id. ¶¶ 142-144, 147.) He alleges that

  UVA Jewish students have been called “filthy Jews,” “Hitler,” “Nazi,” “genocidal fucks,” and

  physically assaulted and threatened with violence. (Id. ¶¶ 145-146.) Plaintiff specifically alleges

  that he was called a “filthy Jew,” although he does not say who called him this, when, or whether

  this encounter occurred at UVA. (Id. ¶ 228.) He otherwise does not identify who, when, where,

  or through what medium these things were said, nor whether he was present. If this occurred at



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  UVA, Goldstein does not allege whether he reported any of these incidents to the UVA

  Defendants, UVA Police, EOCR or Just Report It.

         On October 27, 2023, Faculty for Justice in Palestine at UVA (“FJP”) published an “Open

  Letter” signed by over 80 professors, including professors later assigned to a Task Force on

  Religious Diversity and Belonging. (Id. ¶ 86.) Goldstein describes this letter as “pro-Hamas” and

  “antisemitic,” although Goldstein does not include the text of the letter in his Complaint and does

  not allege whether he saw the letter. (Id.) On November 29, 2023, a “Coalition of Concerned

  Faculty Members” hosted an event called “Education and Action: A Teach-in on Palestine.” (Id.

  ¶ 87.) Goldstein considered this event a “pro-Hamas, anti-Israel disruptive rall[y].” Id. Goldstein

  does not allege whether he attended. Goldstein does not allege whether he reported the event to

  the UVA Defendants, UVA Police, EOCR, or Just Report It.

         Goldstein alleges that on unidentified dates certain “pro-Hamas faculty members []

  canceled classes so that they and their students could attend anti-Israel protests” (id. ¶ 129), that

  certain faculty members “offered ‘extra credit’ and boosts in grades to students who attend anti-

  Israeli, antisemitic rallies” (id. ¶ 130), and that some faculty “offered to tutor and assist pro-Hamas

  students with their final examination and term paper obligations” (id. ¶ 131). Goldstein does not

  identify these professors or courses, and he does not allege whether he was in any of the affected

  classes. Goldstein also alleges that certain pro-Hamas faculty members “threatened to withhold

  final grades for their students.” (Id. ¶ 133.)31 He does not allege that his faculty members made

  any such threats or that his grades were withheld.



  31
     Although Goldstein claims that these acts should be “imputed” to UVA, he includes a social
  media screenshot which explains that these acts were directed against UVA: “Many of your
  [professors] and [teaching assistant]s are withholding grades in order to call for amnesty for
  student and faculty protestors: dropping their charges + NTOs and ending their UJC [University
  Judiciary Committee] proceedings. If UVA truly supports free speech, then it can’t respond to civil
                                                    13
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         Goldstein complains that various professors’ associations and academic departments at

  UVA expressed support and solidarity for “pro-Hamas UVA faculty and students” and thus

  “support antisemitic discrimination and harassment.” (Id. ¶¶ 136-137.) He also complains about

  the forming of “formal student groups dedicated to antisemitic objectives.” (Id. ¶ 138.) Goldstein

  does not describe what “formal” student groups are and does not allege he ever reported any

  concerns about such groups to the UVA Defendants, UVA Police, EOCR, or Just Report It.

         On April 30, 2024, FJP, SJP, and affiliated groups “began constructing ‘encampments’ on

  either side of the Rotunda,” at the heart of the University’s Grounds.           (Id. ¶ 148.)   The

  encampments “included group chants of antisemitic slogans, numerous antisemitic banners and

  posters, intermittent amplified sound (in violation of University policies), tents (in violation of

  University policies), and the materials for constructed, rigid barriers and structures.” (Id. ¶ 150.)

  Goldstein explains that this encampment “occupied substantial portions of the central Grounds”

  which forced Jewish students and faculty to “navigate around antisemitic banners, oaths, and slurs”

  on the way to the library or class. (Id. ¶ 127.) Goldstein does not allege any specific instance in

  which he went to or walked past the encampments or was impeded from attending any class near

  the encampment.

         Goldstein alleges that on May 1 and May 2, 2024, UVA administrators including Vice

  President for Student Affairs Kenyon Bonner, Dean of Students Cedric Rucker, Associate Vice

  President for Student Affairs Marsh Pattie, and University Police Chief Tim Longo “engaged in

  deep dialogue with masked pro-Hamas encampment dwellers.” (Id. ¶ 153.) On May 3, 2024, FJP

  and SJP “posted a list of demands to the University of Virginia and its administration” which



  disobedience with police violence.” (Compl. ¶ 133.) In other words, this post shows that UVA
  was indeed disciplining the protesting students and faculty who violated policies or engaged in
  misconduct.
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  Goldstein considered “patently antisemitic.” (Id. ¶ 154.) They “demanded a response by 12:00PM

  the following day.” (Id.)

         Goldstein alleges that the following day, May 4, 2024, UVA “produced a lengthy response

  to the demands, in writing,” which was signed by Vice President for Student Affairs Kenyon

  Bonner and Vice Provost for Academic Affairs Brie Gertler. (Id. ¶ 155.)32 UVA wrote that it

  “welcome[d] the opportunity for further conversation” and “to hear more about your questions and

  concerns.” (Id.) As to specific demands related to the Boycott, Divest, Sanctions (“BDS”)

  Movement,33 Goldstein alleges that UVA promised to arrange a meeting with administrators.

  Goldstein also alleges that UVA further agreed that the protestors “would not be charged with or

  face any University disciplinary measures or proceedings.” (Id.) Goldstein contends that this

  implied that the protestors “could continue on without fear of ‘administrative discipline.’” (Id.)

  The same day, however, University, local, and state police removed and dismantled the

  encampments and their occupants. (Id. ¶ 158.) Goldstein alleges that arrests were made, but

  complains that the police never pressed charges. (Id.) Goldstein does not allege that any

  interaction by UVA Defendants with the encampments was directed at Goldstein or involved

  Goldstein.




  32
     The full text of the letter is available online (https://news.virginia.edu/sites/default/files/2024-
  05/UVA%20Response%20to%20%E2%80%9CLiberation%20Zone%E2%80%9D%20for%20G
  aza%20-%205.3.24.pdf). Notably, the letter does not state that the protesters would “not be
  charged with or face any [] disciplinary measures,” as Plaintiff alleges. (Compl. ¶ 155.) To the
  contrary, the letter expressly noted that UVA will “enforce reasonable restrictions on the time,
  place, and manner of expressive activities, so as to assure the safety of our community and to avoid
  disruption to University life or the rights of others.” Indeed, at least 25 demonstrators were
  arrested for violating UVA policies on May 4, specifically in relation to the encampment. Patrick
  Larsen, UVA encampment cleared by force after four days; 25 arrested, VPM: NPR (May 5, 2024
  at 5:46 PM EST), https://www.vpm.org/news/2024-05-05/university-of-virginia-gaza-protest-
  state-police-arrests-grounds.
  33
     Plaintiff alleges that the BDS movement is antisemitic and anti-Israeli. (Compl. ¶ 118.)
                                                    15
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         In contrast to these events, Goldstein alleges that on September 7, 2022, an item appearing

  to be a noose was found draped on a statue of Homer on the Lawn. (Id. ¶ 205.) In response, the

  UVA President immediately reported to various law enforcement agencies the commission of a

  hate crime and, within a few hours, published an open letter calling the event “an act intended to

  intimidate members of this community,” notably African-Americans. (Id.) Goldstein contends

  that the UVA Rector and President “did none of these things for the Jewish community” when the

  Grounds were adorned with “internationally recognized symbols of antisemitic hate.” (Id. ¶ 206.)

            General Allegations of Complaints against and Response by Administration

         Goldstein alleges that “Jewish students, faculty, and parents” lodged “cries for help and

  formal complaints with every available University outlet, agency, and program.” (Compl. ¶ 88.)

  These efforts included letters written to the UVA President and the Board of Visitors, open letters

  published on unidentified platforms, police reports, formal complaints with “EOCR,” and formal

  complaints with the “Just Report It!” system. (Id. ¶ 89.) Goldstein claims that the United States

  Department of Education’s Office for Civil Rights opened an investigation. (Id.) Goldstein does

  not allege whether or how he was involved in any of the efforts he describes, nor what the

  complaints said.

         Goldstein alleges that despite receiving notice of harassment from these various

  unspecified complaints, the UVA Defendants “did . . . nothing.” (Id. ¶ 90.) He complains that

  while certain public figures in Virginia had issued statements on the topic, the UVA Defendants

  did not “condemn antisemitism on Grounds,” and they did not “threaten to hold students and

  faculty who engaged in antisemitic discrimination and abuse accountable.” (Id. ¶¶ 91-93.) He

  further complains that when the UVA Defendants did speak about antisemitism, they also




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  discussed Islamophobia at the same time, a pairing of topics which he considered “antisemitic,”

  “retaliatory,” “denial,” and “gaslighting.” (Id. ¶ 94.)34

         When Jewish students and parents petitioned the UVA President for a meeting, the

  President “forced them to wait nearly four months,” before he agreed to meet, and then he “limited

  [the meeting] to only four Jewish parents, who were forced to attend in person with their

  ‘biological child’ student in attendance with them.” (Id. ¶ 160.) Goldstein claims that requiring

  both students and parents to attend this meeting was an “act of denial, retaliation, and

  intimidation[.]” (Id.) The President hosted the meeting “in his office, in person,” and “insisted

  that the meeting be ‘confidential’” despite its public importance. (Id.) The Jewish parents and

  students at the meeting delivered a “multi-media presentation” regarding “the state of antisemitism

  at UVA,” and informed the UVA President that they felt afraid, intimidated, and forced to hide

  their faith while on campus. (Id.) Two days after the meeting, on February 16, 2024, the President

  emailed the attendees, saying, “I appreciate your taking the time to join us, and I’m grateful for

  your willingness to share your perspectives and ideas.” (Id. ¶ 163.) Goldstein considered this

  email evidence of UVA’s and the President’s “deliberate indifference” toward antisemitism and

  “gaslight[ing]” of Jewish students. (Id.)

         On March 1, 2024, the UVA Board of Visitors held its spring meeting.35 (Id. ¶ 164.)

  During the meeting, Board of Visitors member Bertram Ellis allegedly “attempted to raise the




  34
     The complained-of language pairing antisemitism and Islamophobia is almost identical to the
  language chosen by the top 100 law firms’ letter to Deans of the major law schools addressing
  antisemitism. See Andrea Keckley, More Firms Urge Law Schools To Combat Antisemitism,
  Law360 (November 3, 2023 at 4:40 PM EDT), https://www.law360.com/articles/1740502/more-
  firms-urge-law-schools-to-combat-antisemitism.
  35
     A video of the exchange Plaintiff has alleged can be seen online (The Jefferson Council, Heated
  exchange between Board member Bert Ellis and Rector Robert Hardie, YouTube (March 1, 2024),
  https://www.youtube.com/watch?v=9XNylWKevdY).
                                                   17
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  subject of antisemitism on Grounds.” (Id.) Rector Hardie allegedly interrupted Ellis, explaining

  that antisemitism on Grounds “would not be discussed in ‘open session.’” (Id. ¶ 165.) Ellis stated

  that he had received hundreds of complaints from Jewish students and parents and that the matter

  should be openly addressed. (Id.) Goldstein alleges that “Hardie became heated and aggressive,”

  calling Ellis “out of line” and “out of order.”36 (Id. ¶ 166.) The Rector then allegedly “raised his

  voice and [] threatened Mr. Ellis” (id. ¶ 167), then told Ellis that he “would be ‘reprimanded’” (id.

  ¶ 168). A motion was later brought to allegedly “punish Mr. Ellis for . . . attempting to protect

  Jewish students at UVA.” (Id. ¶ 172.) Goldstein does not allege that he was present at, or in any

  way connected to, the Board of Visitors meeting.

         Goldstein further alleges that when UVA received a “failing” grade37 from the Anti-

  Defamation League related to antisemitism on campus, it did not “investigate, expose, [or]

  remediate antisemitism on Grounds” (id. ¶ 177), but instead used its “media liaisons” to minimize

  student complaints (id. ¶ 179). Goldstein also alleges that UVA told the media that: “ongoing

  inquiries into those allegations have yet to return evidence to substantiate the claims or to warrant

  disciplinary measures . . . . This includes specific allegations of violence against one student at a

  protest, after which University Police investigated thoroughly, using video evidence, witness




  36
     The Board of Visitors observes Roberts’ Rules of Order, a parliamentary procedure for
  conducting meetings. See Manual of the Board of Visitors of the University of Virginia, § 2.38
  Conduct of Business, https://bov.virginia.edu/sites/g/files/jsddwu1171/files/2024-
  07/2024%20revisions%20with%20newest%20members%20-%20July%209%2C%202024_0.pdf
  at p. 4; see also Roberts’ Rules online, http://www.rulesonline.com/.
  37
     Goldstein alleges no facts about how the Anti-Defamation League reached this grade, and offers
  no basis from which to infer that the grading system is reliable or objective. The ADL report cards
  have been widely criticized. Arno Rosenfeld, Why the ADL is struggling to find its campus footing,
  Forward        (April    18,     2024),      https://forward.com/forward-newsletters/antisemitism-
  notebook/604351/why-the-adl-is-struggling-to-find-its-campus-footing/.
                                                   18
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  statements, and other methods.” (Id. ¶ 180.)38 Goldstein alleges that this statement is false. (Id.

  ¶ 181.) Goldstein found these media communications demonstrative of UVA’s retaliatory animus.

  (Id. ¶ 178.)

                      Plaintiff’s Alleged Harassment, Complaint, and Honor Charge

          Goldstein matriculated as a First Year at the University of Virginia in August 2023.

  (Compl. ¶ 14.) A few months later, on October 25, 2023, many students and faculty members

  joined a “walk out,” many wearing keffiyehs, which Goldstein considers the “symbol of Hamas

  and pro-Palestinian ‘resistance’ groups.” (Id. ¶ 107.) Goldstein contends that the attendees were

  “chanting slogans of hate,” although he does not allege what was said. (Id.) Goldstein attended

  the event “wearing his Yarmulke, his Star of David, and carrying the flag of Israel.” (Id. ¶ 109.)

  Upon request, a Jewish-Israeli UVA professor escorted him to the event. (Id. ¶ 110.) At the walk-

  out, Goldstein was “berated, insulted, threatened with violence, and physically assaulted.” (Id.

  ¶ 111.) When this happened, the UVA professor escorting him “intervene[d] and identif[ied]

  himself as a UVA professor in order to protect [Goldstein] and himself from imminent physical

  assault.” (Id.)39

          On an unidentified date, UVA Associate Vice President for Student Affairs Marsh Pattie

  and Associate Dean of Students Alex Hall “communicated with the Plaintiff by Zoom regarding

  his complaints of harassment, abuse, and physical assault.” (Id. ¶ 96.) Goldstein alleges that he

  was told he could “move out” of his dorm if he felt unsafe or uncomfortable. (Id.) Goldstein does



  38
     The complete statement made by UVA is available online (UVA gets an F on Campus
  Antisemitism Report Card, NBC29 WVIR (April 11, 2024 at 3:25 PM EDT),
  https://www.29news.com/2024/04/11/uva-gets-an-f-campus-antisemitism-report-card/).
  39
     The interaction alleged by Plaintiff can be seen at the event in the background of this CBS19
  news footage beginning around 0:20 (Felicity Taylor, Pro-Palestine and pro-Israel students clash
  on Grounds, CBS19 (October 25, 2023), https://www.cbs19news.com/story/49891572/pro-
  palestine-and-pro-israel-students-clash-on-grounds.
                                                  19
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  as Goldstein moved for dismissal, however, the Honor Committee dismissed the Charge for lack

  of evidence. (Id. ¶ 196.)

         As a result of these events, Goldstein alleges he feels unsafe on University premises. (Id.

  ¶ 231.) Goldstein claims he now “lives in hiding” in Charlottesville and “has been ostracized from

  University society and student life.” (Id. ¶¶ 238-39.) He further alleges that he has suffered

  “significant physical injuries,” and mental, spiritual, and emotional damages, although he does not

  share the nature or extent of these injuries. (Id. ¶¶ 245-46, 249.)

                                 PROCEDURAL BACKGROUND

         Plaintiff filed suit on May 17, 2024, naming the UVA, Hardie, Ryan, FJP, and SJP as

  defendants.

         His claims against UVA (Count I) arise under Title VI of the Civil Rights Act of 1964, 42

  U.S.C. § 2000d (“Title VI”), which prohibits discrimination on the basis of race or national origin




  extraordinary cases, intervene in an ongoing honor proceeding. However, none of the relevant
  factors justifying intervention were at issue here:

         The University President may initiate, intervene in, and preempt proceedings before
         any University body when the President determines, in his or her sole discretion,
         that established processes will be unable to timely or properly adjudicate a case or
         complaint including, but not limited to, cases involving students arrested,
         charged, or convicted of criminal conduct or other serious conduct not involving
         criminal proceedings which reasonably endangers or threatens to disrupt the
         University community or University operations. The foregoing shall include,
         without limitation, conduct involving the possession or distribution of controlled
         substances on or off University property, attempted or inflicted bodily injury or
         other harm to any member of the University community, and destruction or
         attempted destruction of University property.

  See Statement of Student Rights and Responsibilities (STA-003), Section VIII, available online
  (University of Virginia, UVA Policy, STAF-003: Statement of Students’ Rights and
  Responsibilities (September 9, 2018), https://uvapolicy.virginia.edu/policy/STAF-003) (emphasis
  added). The Rector is not alleged to, nor does he, have any role (or authority) with respect to the
  Honor Committee.
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  by entities that receive federal funds, including public universities such as UVA. Within Count I,

  Goldstein appears to allege three theories of discrimination: (1) Intentional Discrimination

  (Compl. ¶ 257); (2) Harassment/Hostile Environment (id. ¶ 259); or (3) Retaliation (id. ¶ 263).

  His claim against UVA is based on his Israeli national origin and Jewish ethnicity and race.

          His claims against the Rector and President (Count II) are brought under 42 U.S.C. § 1983,

  which provides a private right of action for damages against any person acting “under color of”

  state law who deprives the plaintiff of the “rights, privileges, or immunities secured by the

  Constitution and laws” of the United States. Plaintiff alleges he was deprived of his rights under

  the Equal Protection Clause of the Fourteenth Amendment, and the Free Exercise and Free Speech

  Clauses of the First Amendment.

          Plaintiff also alleges a claim under Section 1981 against the Rector and President. Section

  1981 provides that individuals of all races and ethnicities have “the same right in every State and

  Territory to make and enforce contracts” and “the full and equal benefit of all laws and

  proceedings.” 42 U.S.C. § 1981. However, “the express cause of action for damages created by

  § 1983 constitutes the exclusive federal remedy for violation of the rights guaranteed in § 1981 by

  state governmental” actors.       Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701, 733 (1989).

  Accordingly, Plaintiff’s Section 1981 claim is subsumed by his Section 1983 claim, and Count II

  should be construed as a Section 1983 claim.43 Plaintiffs’ claim under Section 1983 is based on



  43
    Even if Plaintiff were asserting a standalone § 1981 claim, he has not established the elements
  of a contract between himself and the UVA Defendants. “Any claim brought under § 1981,
  therefore, must initially identify an ‘impaired contractual relationship’ . . . under which the plaintiff
  has rights.” Domino’s Pizza, Inc. v. McDonald, 546 U.S. 470, 476 (2006). To the extent Plaintiff
  would argue that there is a University policy or code of conduct which he seeks to enforce, well-
  established caselaw forecloses his claim. Doe v. Marymount Univ., 297 F. Supp. 3d 573, 587 (E.D.
  Va. 2018) (“a [u]niversity’s student conduct policies are not binding, enforceable contracts”);
  Clark 2021 WL 1827256, at *6 n.6 (university’s Title IX policy was not a contract because
  “different versions of the policy can exist over time” and are “subject to the unilateral revisions of
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  the same theories: (1) Intentional Discrimination (Compl. ¶¶ 275, 285); (2) Harassment/Hostile

  Environment (id. ¶¶ 277, 287); and (3) Retaliation (id. ¶¶ 279, 289).

                                         LEGAL STANDARD

          To survive a motion to dismiss for lack of standing under Federal Rule of Civil Procedure

  12(b)(1), a plaintiff must show that (1) the plaintiff suffered an injury that is “concrete and

  particularized” and “actual or imminent, not conjectural or hypothetical,” (2) a causal connection

  by which the injury is traceable to the challenged action of the defendant, and (3) that it is “likely”

  that the injury alleged will be redressed by a favorable decision on Plaintiff’s claims. Lujan v.

  Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). Notably, “the ‘injury in fact’ test requires more

  than an injury to a cognizable interest. It requires that the party seeking review be himself among

  the injured.” Id. at 563. A court analyzing whether a plaintiff has sufficiently alleged his standing

  “need not accept factual allegations ‘that constitute nothing more than ‘legal conclusions’ or

  ‘naked assertions.’” S. Walk at Broadlands Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands,

  LLC, 713 F.3d 175, 182 (4th Cir. 2013) (quoting David v. Alphin, 704 F.3 327, 333 (4th Cir.

  2013)). As the Fourth Circuit has explained, a court may not “create [its] own jurisdiction by

  embellishing otherwise deficient allegations of standing.” Id. (quoting Whitmore v. Arkansas, 495

  U.S. 149, 155-56 (1990)).

          A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests whether a

  complaint contains “sufficient factual matter to state a claim to relief that is plausible on its face.”

  Carter v. Wells Fargo Bank, Nat’l Ass’n, 689 F. Supp. 3d 253, 254 (W.D. Va. 2023) (quoting

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (cleaned up)). To survive, a complaint must plead



  the University”); Doe v. Washington & Lee Univ., No. 6:14-CV-00052-NKM, 2015 WL 4647996,
  at *11 (W.D. Va. Aug. 5, 2015) (finding that a university’s sexual harassment policies “are not
  contractual in nature because they are subject to ‘continual examination and revision.’”).
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  sufficient “factual content that allows the court to draw the reasonable inference that the defendant

  is liable for the misconduct alleged.” Id. (quoting Iqbal, 556 U.S. at 678). A complaint “does not

  satisfy this standard with only ‘labels and conclusions’ or a ‘formulaic recitation of the elements

  of cause of action.’” Olgiati v. Breitschmid, No. 7:23-CV-352-RSB, 2023 WL 8828647, at *2

  (W.D. Va. Dec. 21, 2023) (citing Iqbal, 556 U.S. at 678). While the court must draw inferences

  in Plaintiff’s favor, Plaintiff’s legal conclusions are not entitled to any presumption of truth.

  Carter, 689 F. Supp. 3d at 254.

                                            ARGUMENT

         Goldstein’s Complaint is both long and animated. But it contains very few allegations

  related to Goldstein himself, and even fewer related to Defendants Ryan and Hardie. It contains

  no allegations at all that Hardie, Ryan, or UVA intentionally and directly discriminated against

  him. It contains no allegations at all that Hardie, Ryan, or UVA took any adverse action against

  him, much less one that was intended as a retaliation for Goldstein engaging in protected activity.

  And rather than alleging that UVA was deliberately indifferent to Goldstein’s concerns about peer

  harassment, Goldstein has affirmatively alleged that UVA listened to his complaints, provided him

  protection, enforced University policies, and even dismissed the Honor Charge against him.

  Because Plaintiff’s allegations show that he has no standing nor viable cause of action against the

  UVA Defendants, all claims against the UVA Defendants should be dismissed.

  I.     Plaintiff has failed to allege that he has standing.

         Plaintiff’s claims against the University Defendants fail to meet the bar set by Lujan and

  S. Walk at Broadlands Homeowner’s Ass’n, Inc. First, he does not meet the particularized injury

  requirement. He expressly admits that he has failed to plead specific facts regarding his injuries,

  under the auspice of privacy. (Compl. ¶¶ 245-46.) The injuries he does allege, such as deprivation

  of educational benefits and chilling of his speech or expression, are made in conclusory terms,
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  with no factual allegations in support, and are not caused by the UVA Defendants’ alleged actions.

  The other injuries he claims such as “profound wounding,” “mental anguish, [and] severe

  emotional distress” (id. ¶¶ 242 and 246), are not redressable under Title VI and as pled by the

  Plaintiff. Cummings v. Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 230 (2022).44 His injuries

  further fail to meet Lujan’s “particularized” requirement—much of the conduct he challenges

  appears to be entirely unrelated to him. For example, he does not describe how he suffered

  “particularized” harm from posters, protests, or other expression around campus that he never

  claims he saw or heard (Compl. ¶¶ 103, 122-23, 125, 140); from the actions and statements of

  faculty in courses he was not taking (id. ¶¶ 130-31); from the Board of Visitors meeting which he

  did not attend and which allegedly concerns a matter between the Rector and another Board

  member (id. ¶¶ 164-172); or from an encampment of protesters that he never alleges he passed or

  were protesting him (id. ¶¶ 148-154). He further fails to articulate his involvement in actions

  crucial to the elements of his claims. He alleges that complaints “were lodged” and police reports

  “were filed,” but he does not allege who made those complaints and reports or what they said. (Id.

  ¶ 89.) Even those events that are specific to him come up short. For example, one of Plaintiff’s

  primary allegations relates to an Honor Charge filed against him by another student. But even if

  this event was reasonably particularized, Plaintiff’s own allegations show that he suffered no

  injury—the Honor Committee investigated and dismissed the charge for lack of evidence, and

  Plaintiff never faced any disciplinary action.




  44
    While emotional distress injuries are theoretically available under 42 U.S.C. § 1983, Plaintiff’s
  conclusory allegations—absent any facts about “physiological or psychological problems,” are
  insufficient. Crawford v. Coll. Life Ins. Co. of Am., 831 F.2d 1057 (4th Cir. 1987). In addition,
  his allegations do not suggest that any such distress “did in fact occur and that its cause was the
  constitutional deprivation itself and cannot be attributable to other causes.” Price v. City of
  Charlotte, N.C., 93 F.3d 1241 (4th Cir. 1996).
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         His allegations similarly lack traceability and redressability. He alleges that anonymous

  individuals at unknown locations and unknown times called him unidentified slurs, threatened him,

  or assaulted him. (Id. ¶ 228.) UVA states that it firmly abhors such alleged conduct. But, given

  the complete lack of specificity in this allegation, it is impossible to form any basis to conclude

  that such conduct even related to UVA, much less could be attributable to UVA. Plaintiff further

  alleges that he was “berated, insulted, threatened with violence, and physically assaulted” by

  unknown individuals at the walkout. (Id. ¶ 111.) But Plaintiff has not pled—nor ever reported to

  UVA—who assaulted him during the October 25, 2023 walkout, which, as apparent from publicly

  available video footage, was a public protest.45 Plaintiff has not alleged any specific facts that

  would show that either of these incidents—even if they are particular to him—are in any way

  traceable to the UVA Defendants.

         Finally, Plaintiff does not show redressability—the majority of his alleged injuries are

  conclusory or speculative, and the others are forms of emotional distress that are not redressable

  under federal antidiscrimination statutes. (See Compl. ¶¶ 225-227, 232, 239, 242-244, 246-247.)

  Cummings, 596 U.S. at 230 (emotional distress damages unavailable under Title VI). He does not

  articulate any meaningful educational harms for which he could seek compensation. See infra,

  Part IV.A.3 (requiring decline in academic performance or attendance, professional treatment or

  diagnosis affecting education, or moving schools). And he does not explain the nature of the

  injunctive relief he requests, nor any reason to suggest he faces imminent harm giving him standing




  45
     Plaintiff can be seen at the event in the background of this CBS19 news footage beginning
  around 0:20 (Felicity Taylor, Pro-Palestine and pro-Israel students clash on Grounds, CBS19
  (October 25, 2023), https://www.cbs19news.com/story/49891572/pro-palestine-and-pro-israel-
  students-clash-on-grounds.
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  to request such relief. (Compl. ¶ 340.) It is therefore unclear what redress he can gain from his

  lawsuit.

         Ultimately, instead of pleading specifics, Plaintiff doubles down, for 340 paragraphs, on

  “naked assertions” and “legal conclusions” which are insufficient to establish standing. S. Walk

  at Broadlands Homeowner’s Ass’n, Inc., 713 F.3d at 182. This Court should dismiss Plaintiff’s

  Complaint.

  II.    The Court should dismiss Counts I and II because Plaintiff alleges no intentional
         discrimination by any UVA Defendant based on his race or national origin under
         Title VI or the Equal Protection Clause under 42 U.S.C. § 1983.

         Plaintiff alleges disparate treatment discrimination based on his Jewish ethnicity and/or his

  Israeli national origin, but his Complaint reveals that the UVA Defendants cared for UVA’s Jewish

  students and families. (See Compl. ¶¶ 257-258, 275, 285.) To make out a disparate treatment

  claim, Plaintiff must allege facts, which, “if true, raise a plausible inference that the university

  discriminated against the student on the basis of [race or national origin],” and “demonstrat[e] the

  existence of a but-for causal link between the student’s [ethnicity or national origin] and the

  university’s challenged decision.” Ortegel v. Virginia Polytechnic Inst. & State Univ., No. 7:22-

  CV-00510, 2023 WL 8014237, at *9-10 (W.D. Va. Nov. 20, 2023) (quoting Sheppard v. Visitors

  of Va. State Univ., 993 F.3d 230, 235-36 (4th Cir. 2021) (cleaned up)).46 Absent direct evidence

  of discrimination, this means a plaintiff must “plead that he was treated differently from similarly

  situated . . . students of another race, and that such treatment was because of his race.” Newman

  v. Howard Univ. Sch. of L., No. 1:23-CV-0436-TNM, 2024 WL 450245, at *10 (D.D.C. Feb. 6,

  2024) (requiring a Title VI plaintiff to plausibly allege (1) membership in a protected class, (2)


  46
    As explained in Ortegel, “Title VI parallels Title IX” and the two schemes “operate in the same
  manner.” 2023 WL 8014237, at *10 (citation omitted). Accordingly, the elements of sex
  discrimination claims under Title IX track the elements of race discrimination claims under Title
  VI, and it is appropriate to cite Title VI and Title IX case law interchangeably.
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  adverse action, and (3) facts giving rise to an inference of discrimination). An equal protection

  claim contains essentially the same elements: “a litigant must first demonstrate that he has been

  treated differently from others with whom he is similarly situated,” and that “the defendant’s

  actions had a discriminatory effect and were motivated by a discriminatory purpose.” Ortegel,

  2023 WL 8014237, at *10 (internal quotation marks and citations omitted). In general, “the

  plaintiff must set forth specific factual allegations that are probative of an improper motive.” Id.

  Here, Plaintiff’s discrimination claim fails because he does not allege any adverse decision (or

  disparate treatment) by the UVA Defendants, and because he fails to allege any facts plausibly

  suggesting discriminatory intent.

         A.      Plaintiff does not allege an adverse decision or disparate treatment.

         Plaintiff does not point to a particular adverse decision by UVA, the President, or the

  Rector that he is challenging. For this reason alone, his discrimination claim fails. As to the

  Rector, Plaintiff’s sole allegation is that during a Board of Visitors Meeting the Rector allegedly

  “became heated and aggressive” toward another member of the Board of Visitors—not Plaintiff.

  (Compl. ¶¶ 164-172.) Indeed, Plaintiff does not allege he had any connection to the meeting. Even

  assuming as true that the Rector had publicly censured another member of the Board of Visitors,

  that could not support his claim. See Houston Cmty. Coll. Sys. v. Wilson, 595 U.S. 468, 475, 482

  (2022) (“purely verbal” censure of one member of an elected body by other members of the same

  body cannot support a First Amendment retaliation claim).

         Otherwise, Plaintiff alleges that the UVA Defendants engaged in disparate treatment of

  others, not himself, by:

        allowing faculty members to offer “extra credit” and boost in grades to students
         who attend anti-Israeli, antisemitic rallies (Compl. ¶ 130);

        allowing encampments for people who chant antisemitic slogans (id. ¶ 151);


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          “forcing [Jewish students and parents] to wait nearly four months” to meet with
           President Ryan (id. ¶ 160), while responding quickly to pro-Palestinian
           encampment dwellers who demanded a response (id. ¶ 155);

          allowing a bogus Honor Charge against Plaintiff (id. ¶ 186-87); and

          not responding to on-Grounds protest activity, yet swiftly acting during the “Homer
           Noose Incident” (id. ¶ 204).

           These allegations cannot support an intentional discrimination claim because Plaintiff fails

  to plead that he personally was treated differently on the basis of his race or national origin. As to

  the alleged disparate treatment by faculty, Plaintiff does not allege who these professors were,

  what courses they taught, whether he was in the courses, or how this treatment caused him harm

  in any way. Indeed, contrary to Plaintiff’s allegations, UVA issued a statement expressly

  prohibiting faculty from engaging in such conduct.47

           Indeed, even if Plaintiff were able to pursue these claims, the facts do not support any

  inference of discriminatory or disparate treatment. As to the encampments, for example, once

  occupants refused to comply with University policy and demonstrated a willingness to physically

  resist compliance, UVA permitted police intervention to secure the site—undermining Plaintiff’s

  claim. Although scheduling the meeting with Jewish parents and students may have taken longer

  than Plaintiff expected, UVA, including its President, did not deny a request by Jewish parents and

  students to meet. And Plaintiff alleges no other facts suggesting unequal treatment.

           To the extent Plaintiff seeks to raise this claim based on Ryan, Hardie, or UVA failing to

  stop his Honor Charge from proceeding to the motion to dismiss stage, (Compl. ¶¶ 192-95), as this



  47
    Haley Cohen, UVA professor cancels class to support BDS as referendum passes, Yahoo!News,
  JewishInsider (March 1, 2024), https://www.yahoo.com/news/uva-professor-cancels-class-
  support-084209510.html?guccounter=1. (“[I]n response to the report of a class having been
  canceled in contravention of that expectation, the Provost’s office and School Dean will address
  this matter with the faculty member in question and undertake disciplinary measures if the
  instructor is found to have violated University policy.”)
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  Court explained in a similar case, this claim “fails because he was not subject to any discipline by

  [the school].” Clark v. Liberty Univ., Inc., No. 6:20-CV-58-NKM, 2021 WL 1827256, at *7, n.5

  (W.D. Va. May 7, 2021) (J. Moon) (“The fact that Liberty did not find Clark responsible for any

  wrongdoing is paramount in this case. Indeed, Liberty did not impose any sanctions or disciplinary

  punishment against him.”). Plaintiff’s hyperbolic effort to assert harms simply because another

  student filed an Honor Charge against him cannot serve to show any harm by any UVA Defendant.

          Even if there were actionable harm here, Plaintiff’s allegations fail.              A selective

  enforcement claim regarding a school disciplinary proceeding requires the Plaintiff to plead that

  “the decision to initiate the proceeding was affected by the student’s [race].” Haidak v. Univ. of

  Massachusetts-Amherst, 933 F.3d 56, 74 (1st Cir. 2019) (quoting Yusuf v. Vassar Coll, 35 F.3d

  709, 715 (2d Cir. 1994)).48 Here, Plaintiff’s own allegations show that the Charge never got off

  the ground—a student submitted a Report of an Alleged Honor Offense against Plaintiff, which

  the Honor Committee (a group of students) investigated, then dismissed for lack of evidence,

  deciding not to initiate formal proceedings. (Compl. ¶ 196; see also UVA Honor Committee

  Bylaws, Section IV (explaining that formal accusation occurs after an investigation into a report

  is completed, if a claim is not dismissed).) And Plaintiff pleads no facts that support an inference

  of racial motivation—in fact, Plaintiff does not plead any facts about the contents of the Charge at

  all, he simply states in a conclusory fashion that it was filed “in retaliation for the Plaintiff speaking

  to a member of the national media about antisemitism at UVA.” (Compl. ¶ 186.)49 Such

  conclusory allegations are insufficient to state a claim of discrimination.




  48
     This framework was acknowledged, though not adopted, by the Fourth Circuit in Sheppard, 993
  F.3d at 235 (finding “no inherent problem” with the selective enforcement theory under Title IX).
  49
     Plaintiff also seems to allege that Ryan and Hardie discriminated against him by failing to offer
  “comfort, support, or words of encouragement to the Plaintiff.” (Compl. ¶ 198.) Plaintiff does not
                                                     30
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  UVA. But in any event, contrary to Plaintiff’s vague criticisms, UVA did respond to the October

  7, 2023 attack and to on-Grounds protest activity. This Court may take judicial notice of the UVA

  Defendants’ numerous actions supporting the Jewish community, condemning violence and anti-

  Semitism, and addressing safety concerns related to students’ protected speech, in the aftermath

  of October 7, 2023. See generally, Factual Background, at 6 to 11. Even without taking judicial

  notice, Plaintiff himself acknowledges that the UVA Defendants listened to his concerns (Compl.

  ¶ 96), took down the encampments (id. ¶ 158), and engaged in dialogue with Jewish parents and

  students (id. ¶¶ 160-62), undermining his own disparate treatment theory.

         B.      Plaintiff does not allege facts suggesting discriminatory intent.

         Plaintiff fails to plausibly allege any discriminatory intent. Plaintiff does not allege that

  any actions (or failure to act) “caused a discriminatory effect”, or “were motivated by a

  discriminatory purpose.” Ortegel, 2023 WL 8014237, at *11. Plaintiff fails to point to any

  “sufficiently particularized” allegations of discriminatory motive by the UVA Defendants such as

  “statements” or “patterns of decision-making” that show the influence of race. Id. at *9. For

  example, Plaintiff complains about Ryan’s meeting with Jewish parents and his follow-up email,

  sent on Friday February 16, in which Ryan wrote, “I appreciate your taking the time to join us, and

  I’m grateful for your willingness to share your perspectives and ideas.” (Compl. ¶ 163.) This

  sentence contains nothing suggesting a discriminatory motive.

         To the extent Plaintiff suggests that the delay in Ryan’s scheduling the parents’ meeting in

  February demonstrated disparate treatment compared to the student affairs team’s letter responding

  to the encampment protesters’ demands in May, the two situations are not at all similarly situated.

  (Id. ¶¶ 154-55.) Scheduling a planned meeting between the UVA President and multiple parents

  and students can take time for a completely nondiscriminatory reason: it is hard to coordinate so



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  many schedules (or even determine which of the parents and students would attend). By contrast,

  the May encampment posed an imminent safety issue on Grounds.                 Nothing in Plaintiff’s

  allegations suggests that any discriminatory intent underlies UVA’s different responses to each

  different situation. Ultimately, Plaintiff’s allegations do not show that any of the conduct allegedly

  attributed to the UVA Defendants was plausibly motivated by anything other than a

  nondiscriminatory purpose such as student safety, practical or logistical considerations, or a fair

  application of institutional policies and practices such as observance of a Board Agenda or the

  Honor Committee Bylaws.

         In sum, Plaintiff fails to state a claim for intentional discrimination under Title VI or the

  Equal Protection Clause under 42 U.S.C. § 1983 against the UVA Defendants.

  III.   The Court should dismiss Counts I and II because Plaintiff alleges no facts to support
         a retaliation claim under Title VI or 42 U.S.C. § 1983.

         Plaintiff’s next theory is that the UVA Defendants retaliated against him for engaging in

  protected conduct. To make out a claim for retaliation under Title VI, a plaintiff “must allege that

  [he] engaged in protected activity under Title [VI], and second, [he] must allege that — as a result

  of [his] protected activity — [he] suffered an adverse action attributable to the defendant

  educational institution.” Feminist Majority Found. v. Hurley, 911 F.3d 674, 694 (4th Cir. 2018);

  see also Peters v. Jenney, 327 F.3d 307, 320-21 (4th Cir. 2003) (Plaintiff “must show (1) that [he]

  engaged in protected activity; (2) that [Defendants] took a material adverse [] action against [him],

  and (3) that a causal connection existed between the protected activity and the adverse action.”).

         Retaliation is similarly actionable under § 1983, for violations the First Amendment.

  “[P]laintiff must establish three elements in order to prove a First Amendment § 1983 retaliation

  claim. First, the plaintiff must demonstrate that his or her speech was protected. . . . Second, the

  plaintiff must demonstrate that the defendant’s alleged retaliatory action adversely affected the


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  plaintiff’s constitutionally protected speech . . . . Third, the plaintiff must demonstrate that a causal

  relationship exists between its speech and the defendant’s retaliatory action.” Suarez Corp. Indus.

  v. McGraw, 202 F.3d 676, 685–86 (4th Cir. 2000) (internal citations omitted). See also Boyer-

  Liberto v. Fontainebleau Corp., 786 F.3d 264, 281 (4th Cir. 2015) (describing prima facie

  retaliation claim under § 1981).52 Specifically in the context of a § 1983 claim, courts require but-

  for causation: “It is not enough that the protected expression played a role or was a motivating

  factor in the retaliation; claimant must show that ‘but for’ the protected expression the [Defendant]

  would not have taken the alleged retaliatory action.” Raub v. Campbell, 785 F.3d 876, 885 (4th

  Cir. 2015) (citation omitted).53

          Like his intentional discrimination claim, Plaintiff’s theory of retaliation is vaguely pled

  and hard to follow. First, while Plaintiff claims to have engaged in protected activity, his

  allegations are unclear. For example, while he alleges that he spoke to certain UVA administrators

  regarding some unidentified complaints (Compl. ¶ 96), he has not pled enough to show that this

  conversation would constitute protected activity. See, e.g., Hurley, 911 F.3d at 694 (examples of

  “protected activities included advocating against and reporting sexual harassment, plus filing the

  OCR complaint”); Stover v. Coll. Of William & Mary in Virginia, 635 F. Supp. 3d 429, 444 (E.D.

  Va. 2022) (“complaint to the Office of Compliance and Equity was protected activity”); see also

  Monegain v. Dep’t of Motor Vehicles, 491 F. Supp. 3d 117, 133 (E.D. Va. 2020) (noting that “a




  52
     The Equal Protection clause of the Fourteenth Amendment cannot support a retaliation claim
  on its own. Such claims instead should be considered First Amendment retaliation claims. See
  Wilcox v. Lyons, 970 F.3d 452, 461 (4th Cir. 2020) (“To the extent a [plaintiff] contends [he]
  suffered adverse consequences for expressing complaints or reporting discrimination . . . , [his]
  claim arises under the First Amendment.”).
  53
     The Fourth Circuit has not held whether Title VI/IX claims require but-for causation, but has
  indicated that they may. See Hurley, 911 F.3d at 696 n.10. Here Plaintiff has not pleaded facts
  suggesting any causal connection, so he has certainly not met the “but-for” causation requirement.
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  litigant may not advance a First Amendment retaliation cause of action concerning a matter of

  mere personal interest”). Plaintiff simply alleges he made complaints about some unidentified

  conduct in a Zoom meeting with UVA administrators. (Compl. ¶ 96.) As to other activity he

  engaged in that might have been protected—such as publicly protesting and waving the Israeli flag

  (id. ¶ 109), or wearing his Yarmulke (id. ¶ 17), Plaintiff fails to connect that activity with any

  response, retaliatory or otherwise, by the UVA Defendants.

         Plaintiff does not allege the UVA Defendants took any adverse action against him, nor any

  facts supporting a causal relationship between any alleged protected activity, including any

  complaints, and an adverse action. To the extent Plaintiff argues that the process following the

  Report of an Alleged Honor Offense filed by                            constituted an adverse action,

  this fails for the reasons articulated above: 1) the UVA Defendants did not bring the Honor Charge,

  and 2) it was promptly dismissed. Plaintiff was never even accused, much less disciplined, by the

  UVA Defendants. Nor does Plaintiff allege any facts supporting a causal connection between any

  complaints to UVA administrators or protected First Amendment activity and the Honor Charge

  proceeding, which he expressly pleads was initiated by student group SJP, was investigated, and

  then dismissed by the student Honor Committee. (See Compl. ¶¶ 96, 186-200.)

         Plaintiff’s claims of retaliation against the UVA Defendants should be dismissed.

  IV.    The Court should dismiss Counts I and II because Plaintiff’s hostile environment
         harassment claims fail under Title VI or 42 U.S.C. § 1983.

         To state a claim under Title VI for student-to-student harassment that creates a hostile

  environment, Plaintiff must “allege conduct that is ‘so severe, pervasive, and objectively offensive

  that it denies its victims the equal access to education’ that the statute is designed to protect, and

  that the University acted with ‘deliberate indifference’ towards that conduct. Felber v. Yudof, 851

  F. Supp. 2d 1182, 1187 (N.D. Cal. 2011) (quoting Davis v. Monroe Cnty. Bd. Of Educ., 526 U.S.


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  629, 652 (1999)); see also Doe v. Bd. of Visitors of VMI, 494 F. Supp. 3d 363, 376–77 (W.D. Va.

  2020). Schools must interpret Title VI consistent with the First Amendment—indeed public

  universities are prohibited from violating students’ First Amendment rights. Healy v. James, 408

  U.S. 169, 180-81 (1972) (public universities may not infringe upon the First Amendment rights of

  faculty, students, and staff); see also Gerald A. Reynolds, Assistant Sec’y, Off. for Civ. Rts., U.S.

  Dep’t of Educ., Dear Colleague Letter (July 28, 2003) (“Any private post-secondary institution

  that chooses to limit free speech in ways that are more restrictive than at public educational

  institutions does so on its own accord and not based on requirements imposed by” the

  Department.).

         A.       Plaintiff has not alleged facts showing severe, pervasive and objectively
                  offensive harassment that effectively denies equal access to education
                  programs and activities.

         A hostile environment is one that is “so severe, pervasive, and objectively offensive, and

  that so detracts from the victims’ educational experience, that the victims are effectively denied

  equal access to an institution’s resources and opportunities.” Mandel v. Bd. of Trustees of

  California State Univ., No. 3:17-CV-03511-WHO, 2018 WL 5458739, at *21 (N.D. Cal. Oct. 29,

  2018) (quoting Davis, 526 U.S. at 652). Goldstein’s allegations fail to meet this standard for a few

  reasons: (1) his allegations are vague, nonspecific, and do not show harms particularized to

  himself; (2) much of the harassment he alleges is protected speech that is not directed at a particular

  individual and is not actionable under Title VI; and (3) he fails to meaningfully allege loss of any

  educational benefits.

                  1. Plaintiff’s allegations are unrelated to Plaintiff.

         Courts have emphasized that the analysis of harassment under Title VI must be based on

  “specific current allegations or peer-to-peer harassment.” Mandel v. Bd. of Trustees of California



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  State Univ., No. 3:17-CV-03511-WHO, 2018 WL 1242067, at *18 (N.D. Cal. Mar. 9, 2018)

  [hereinafter Mandel I]. In Mandel I, for example, the plaintiffs also asserted claims of antisemitism

  related to on-campus protest activity. The court explained that the plaintiffs’ allegations that the

  defendant school “tolerates, if not promotes, anti-Semitism” were too “vague and conclusory” to

  state a claim:

         There are no details with respect to time, frequency of occurrence, who was
         involved, and in some instances whether the acts were aimed at the Student
         Plaintiffs or otherwise known to the Student Plaintiffs. . . . The same is true of the
         allegations that “students” had to take alternative routes to class and hide their
         Jewish identity to avoid being threatened. In general, these vaguely identified
         events and assertions, without more factual support, cannot prop up the Student
         Plaintiffs’ hostile environment claim.

  Mandel I, 2018 WL 1242067, at *18. See also Felber, 851 F. Supp. 2d at 1188 (dismissing Title

  VI harassment claim where “a broad swath of the conduct alleged occurred at times and in places

  where plaintiffs were not present”).       Here too, the Complaint similarly makes numerous

  nonspecific allegations of harassment unrelated to Goldstein. For example, he complains:

        That certain unidentified faculty offered tutoring and boosts in grades to students
         who attend anti-Israeli, antisemitic rallies (Compl. ¶¶ 130-31), and that other
         faculty “threatened to withhold final grades” (id. ¶ 133), yet he does not allege he
         was in any of the courses at issue;

        That certain slogans, posters, online open letters, and social media images contain
         antisemitic content or symbols of hate (id. ¶¶ 82, 84, 86, 122-125), but he does not
         allege he ever saw, heard, or in any way interacted with those communications;

        That UVA permitted people who chant antisemitic slogans and publish antisemitic
         content to build an encampment on Grounds (id. ¶ 150), but does not allege he ever
         walked by or interacted with those encampments;

        That Defendant Hardie “threatened” another member of the Board of Visitors,
         Bertram Ellis, with “retaliatory animus,” at a Board of Visitors meeting that
         Plaintiff does not allege he was involved with or attended (id. ¶¶ 164-168).

  These allegations cannot support a harassment claim, as they are entirely unrelated to Plaintiff.




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         Goldstein alleges only two incidents of conduct relating to himself that might constitute

  harassment: (1) the October 25, 2023 protest, at which he alleges he was assaulted by a pro-

  Palestinian protester; and (2) the filing and dismissal of his Honor Charge. As to the assault,

  Plaintiff does not allege who assaulted him, whether he reported it, or what occurred in any

  meaningful detail. And in any event, his allegations are insufficient to support a Title VI

  harassment claim. Felber, 851 F. Supp. 2d at 1188. And the Honor Charge, as explained above,

  cannot support any discrimination claim, especially given that                               filed the

  Honor Charge against Plaintiff.

         Ultimately, without more, these two events do not make out severe, pervasive, and

  objectively offensive harassment based on a protected characteristic within the meaning of Title

  VI.

                 2. Plaintiff’s alleged hostile environment is based in large part on speech not
                    directed at Plaintiff and protected under the First Amendment.

         Many of Plaintiff’s generalized allegations concern protected speech not directed at

  Plaintiff. This case is therefore similar to Felber, in which a Jewish student alleged a single assault

  and verbal insult by a pro-Palestinian student during an on-campus protest. In that case, after the

  assault, the plaintiff filed a federal lawsuit alleging a Title VI violation for severe and pervasive

  harassment occurring at the University, trying to make it about more than her single allegation of

  assault by referencing broader on-campus political activities, protests, signs, and events. The court

  dismissed the claims, noting that “a very substantial portion of the conduct to which plaintiffs

  object represents pure political speech and expressive conduct, in a public setting, regarding

  matters of public concern, which is entitled to special protection under the First Amendment.” 851

  F. Supp. 2d at 1188. Relevant to the allegations here, the court observed that Plaintiffs were

  “attempting to draw an untenable line that would remove from protection signs and publications

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  that are critical of Israel and supportive of Hamas and Hezbollah. That protestors’ signs may have

  contained language that plaintiffs believe was inflammatory, offensive, or untrue, does not warrant

  a different result.” Id.

           As the Felber court explained, political and protest activities do not make out a Title VI

  claim:

           The incident in which Felber was assaulted with a shopping cart, for example, did
           not occur in the context of her educational pursuits. Rather, that event occurred
           when she, as one person attempting to exercise free speech rights in a public forum
           was allegedly attacked by another person who likewise was participating in a public
           protest in a public forum.

  Id. at 1187–88. For this reason, the Felber plaintiff’s claims, including regarding an assault, were

  insufficient just as Goldstein’s claims of an alleged assault while participating in a public protest

  in an alleged public forum are insufficient.

           The Fourth Circuit’s ruling in IOTA XI Chapter of Sigma Chi Fraternity v. George Mason

  Univ., 993 F.2d 386 (4th Cir. 1993), is instructive. In that case, after George Mason University

  affirmatively punished a fraternity for creating a racially and sexually hostile environment by

  hosting an “ugly woman contest” involving racially and sexually offensive conduct, the fraternity

  sued George Mason University for infringing on its First Amendment rights, and won. The Fourth

  Circuit described the dispute as involving a skit in which a fraternity member “was painted black

  and wore stringy black hair decorated with curlers, and his outfit was stuffed with pillows to

  exaggerate a woman’s breasts and buttocks. He spoke in slang to parody African-Americans.” Id.

  at 388. The Court agreed that the skit was offensive, crude, and juvenile. However, the Court

  explained that just as the First Amendment protects nude dancing, Barnes v. Glen Theatre, Inc.,

  501 U.S. 560 (1991), it protected the fraternity’s racially offensive humor as expressive conduct.

  IOTA XI Chapter of Sigma Chi Fraternity, 993 F.2d at 389-92. Accordingly, the University was



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  prohibited, under the First Amendment, from imposing sanctions on the offending fraternity. Id.

  at 393.

            Ultimately, here too, Plaintiff’s claim of unlawful harassment, not including the assault,

  appears to run up against the protections of the First Amendment. For example, Plaintiff alleges

  that he was harassed because:

               SJP’s October 8, 2023 issued an Official Statement that the attack on Israel was
                an “unprecedented feat” (Compl. ¶¶ 82-85);

               Posters included words, phrases, and imagery such as, “Decolonization” (id. ¶
                103); “Intifada Revolution—there is only One Solution” (id. ¶ 123); “From the
                River to the Sea, Palestine will be Free” (id. ¶ 122); and bloody handprint
                imagery (id. ¶ 125);

               Faculty signed an Open Letter published by FJP (id. ¶ 86), and expressed
                support and solidarity for pro-Hamas faculty and students; and

               Faculty hosted a “Teach-in on Palestine” (id. ¶ 87).

  Allegations that students and faculty were engaging in expressive conduct not directed at Plaintiff,

  protected under the First Amendment, cannot establish a hostile environment as a matter of law.

  The First Amendment protects Plaintiff’s right to wave the Israeli flag in support of his beliefs as

  much as other student groups’ rights to publish statements and literature in support of their beliefs,

  even if Plaintiff finds that speech offensive or hurtful. (Compl. ¶¶ 82-84, 105.) Allegations

  concerning others’ protected First Amendment activity cannot support Plaintiff’s harassment

  claim.

                   3. Plaintiff fails to adequately allege deprivation of educational benefits.

            Finally, Plaintiff has not alleged any deprivation of educational benefits. The Fourth

  Circuit has explained that to allege deprivation of access to educational opportunities or benefits,

  a plaintiff must allege that the harassment “(1) results in the physical exclusion of the victim from

  an educational program or activity; (2) so undermines and detracts from the victim’s educational


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  experience as to effectively deny her equal access to an institution’s resources and opportunities;

  or (3) has a concrete, negative effect on the victim’s ability to participate in an educational program

  or activity.” Doe v. Fairfax Cnty. Sch. Bd., 1 F.4th 257, 275 (4th Cir. 2021) (quoting Jennings v.

  Univ. of N. Carolina, 482 F.3d 686, 699 (4th Cir. 2007) (cleaned up)).54 In Doe v. Fairfax, the

  Fourth Circuit found deprivation of educational benefits where a student’s “academic performance

  and class attendance declined” after the harassment, where a student deliberately skipped or missed

  school activities to avoid her harasser, and where a student “sought and received professional

  counseling” and received a diagnosis arising from the trauma caused by the alleged assault. 1

  F.4th at 276. In Jennings, the Court compared the Plaintiff’s GPA during the period of harassment

  and concluded that her “subpar academic performance” showed that the harassment “made it

  difficult to focus on her studies.” Jennings, 482 F.3d at 700. See also Mandel I, 2018 WL

  1242067, at *20 (alleging deprivation requires allegations such as moving to another district,

  lowering grades, increased absenteeism, or being hospitalized or rendered homebound due to

  harassment) (citing Fennell v. Marion Indep. Sch. Dist., 804 F.3d 398, 410 (5th Cir. 2015) and

  Gabrielle M. v. Park Forest-Chicago Heights, IL. Sch. Dist. 163, 315 F.3d 817, 823 (7th Cir.

  2003)).

            Plaintiff alleges none of these things. He has failed to articulate any impact to his grades,

  his coursework, or his ability to participate in educational programming or extracurricular

  activities. Furthermore, his vague allegations about damage to his educational opportunities are

  entirely conclusory or speculative. In addition, his allegations of emotional distress are not

  redressable under federal antidiscrimination laws, including under Title VI. (See Compl. ¶¶ 225-



  54
    To the extent Plaintiff claims his experience have caused him emotional distress, the Supreme
  Court has clearly held that emotional distress damages are not available under Title VI. Cummings,
  596 U.S. at 230.
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  227, 232, 239, 242-244, 246-247); Cummings, 596 U.S. at 230 (emotional distress damages

  unavailable under federal antidiscrimination statutes, including Title VI).55 The Supreme Court of

  the United States has affirmed a dismissal of a complaint on the sole ground that emotional distress

  damages are not available under the federal antidiscrimination law.

            In sum, Plaintiff fails to allege harassment that would meet Title VI’s high standard.

            B.     Plaintiff has not sufficiently alleged actual knowledge by the UVA Defendants.

            Even if Plaintiff can make valid allegations of severe, pervasive, and objectively offensive

  harassment that go beyond protected speech, he has not further alleged that he put the UVA

  Defendants on actual notice of it.

            The Fourth Circuit has held that actual notice under Title VI is established only “when a

  school official with authority to address complaints of [unlawful] harassment and to institute

  corrective measures receives a report that can objectively be construed as alleging [unlawful]

  harassment.” Doe v. Fairfax, 1 F.4th at 265. Constructive notice is not sufficient. Gebser v. Lago

  Vista Indep. Sch. Dist., 524 U.S. 274, 288 (1998). Most importantly, “[i]n the Fourth Circuit, . . .

  there is a requirement that the defendant have actual notice of harassment against the plaintiff.”

  Facchetti v. Bridgewater Coll., 175 F. Supp. 3d 627, 639 (W.D. Va. 2016) (emphasis added). A

  plaintiff may not simply rely on general allegations about prior harassing conduct at the same

  institution not specific to the plaintiff. Id. Additionally, “generic allegations, devoid of factual

  content, are not sufficient for the purposes of showing actual knowledge.” Doe, 494 F. Supp. 3d

  at 378 (dismissing Title IX deliberate indifference claim because “Doe merely alleges some

  amorphous knowledge of [unlawful] incidents at the institution”).




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       See also n. 48 (discussing emotional distress damages on § 1983 claim).
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         Plaintiff’s claims fail for all these reasons. The only notice he alleges that he gave in his

  complaint seems to relate to a Zoom meeting he had with two administrators, Marsh Pattie and

  Alex Hall. And, he does not even explain what he told them, beyond a conclusory statement that

  he “communicated” regarding some unidentified conduct he describes in a conclusory fashion as

  “harassment, abuse, and physical assault.” (Compl. ¶ 96.) Without knowing what was said, the

  report cannot “objectively be construed” by the court to determine whether it was a complaint

  alleging a report of unlawful conduct. Doe v. Fairfax, 1 F.4th at 265. Plaintiff does not make any

  other allegations that he reported harassment he experienced or otherwise put UVA, Ryan, or

  Hardie on notice.

         To the extent Goldstein points to the vague statements in the Complaint that some “reports

  were filed” and “[f]ormal complaints … were initiated” by “Jewish students, faculty and parents”

  (Compl. ¶¶ 88-89), these vague allegations do not meet the Fourth Circuit’s “requirement that the

  defendant have actual notice of harassment against the plaintiff.” Facchetti, 175 F. Supp. 3d at

  639 (citing Baynard v. Malone, 268 F.3d 228, 237-38 (4th Cir. 2001)) (emphasis added). Goldstein

  has not alleged that he filed any of the reports or formal complaints described, or indeed, what was

  the subject of those complaints. These allegations thus cannot save his claim.

         C.      Plaintiff’s allegations do not show deliberate indifference by the UVA
                 Defendants.

         Finally, Plaintiff’s Complaint does not include any plausible allegation that the UVA

  Defendants acted with deliberate indifference to Plaintiff’s concerns. “[A] school acts with

  deliberate indifference where its “response to the alleged harassment or the lack of any such

  response is clearly unreasonable in light of the known circumstances.” Doe v. Fairfax, 1 F.4th at

  271 (quoting Davis, 526 U.S. at 648) (cleaned up). Plaintiff therefore must allege facts showing a

  response that is “so inadequate” that it goes beyond “mere negligence.” Facchetti, 175 F. Supp.

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  3d at 636-37. The response must cause plaintiff to “undergo harassment” or make him more “liable

  or vulnerable” to harassment. Id. Notably, “it is not enough [to allege] that a school has failed to

  eliminate student-on-student harassment, or to impose the disciplinary sanctions sought by a

  victim.” S.B. ex rel. A.L. v. Bd. of Educ. of Harford Cnty., 819 F.3d 69, 77 (4th Cir. 2016);

  Facchetti, 175 F. Supp. 3d at 638 (school is not required to “provide the remedy wanted by the

  victim,” and negligence in addressing an assault is not enough to show deliberate indifference).

  Additionally, school administrators are entitled to substantial deference in responding to student-

  on-student harassment. Id.

         Here, Plaintiff fails to allege specific facts showing that UVA was deliberately indifferent,

  and the facts he does allege undermine his claim. Plaintiff does not once in his complaint reference

  UVA’s policy for reporting discrimination and harassment. Indeed, Plaintiff does not even allege

  what remedy he wanted, which he believes UVA has failed to offer him. He certainly has not

  shown that he was made more liable or vulnerable to additional harassment as a result of any of

  the UVA Defendants’ actions or inactions.

         What he does allege is to the contrary: He alleges that UVA Administrators spoke to him

  by Zoom to hear more about his concerns. (Compl. ¶ 96.) When he was concerned for his safety,

  a UVA professor accompanied him to a protest, and intervened to protect him. (Id. ¶¶ 110-11.)

  The encampment of protestors allegedly harassing Jewish students was dismantled, and police

  arrested both students and non-students who did not comply with the law. (Id. ¶ 158.) His Honor

  Charge was dismissed for lack of evidence before an accusation was made. (Id. ¶ 196.) Plaintiff

  alleges no interactions with Hardie, and as to Ryan, Plaintiff acknowledges that Ryan met with

  Jewish students and their parents and sent a follow-up email to respectfully thank them for sharing




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  their concerns with him, a perfectly reasonable communication. (Id. ¶ 163.) Ultimately, Plaintiff

  points to nothing clearly unreasonable about any of the UVA Defendants’ actions.

         Moreover, courts have been reticent to find schools deliberately indifferent when schools

  are navigating their obligations in response to protected speech in furtherance of public, political

  protest. As the Felber court explained:

         [P]laintiffs fail to show how defendants have acted with “deliberate indifference”
         in ignoring wrongful conduct otherwise not amounting to protected speech. To the
         contrary, plaintiffs have alleged facts that campus police have made arrests of
         disruptive protestors, and that the administration has engaged in an ongoing
         dialogue with the opposing parties in an attempt to ensure that the rights of all
         persons are respected, and to minimize the potential for violence and unsafe
         conditions.

  Felber, 851 F. Supp. 2d at 1188. Goldstein’s allegations are similar. Although he complains that

  he has been harassed, much of the speech he articulates in his Complaint is protected—if

  offensive—political speech not directed at Plaintiff. Though Goldstein may have wished for

  different disciplinary sanctions or a different remedy to address the protestors on the other side of

  the line, his own allegations demonstrate that UVA has made consistent and reasonable efforts to

  ensure the safety of its students while avoiding any violation of its students’ First Amendment

  rights—including Goldstein’s. See also Mandel I, 2018 WL 1242067, at *14 (“plaintiffs cite no

  authority that would allow them to hold [a defendant administrator] liable for others’ actions in

  violating plaintiffs' constitutional rights where [the administrator’s] only role was a post-hoc

  failure to punish”). There is no plausible allegation of deliberate indifference here.

         D.      Count II should be dismissed because Plaintiff has not alleged any facts
                 suggesting that Hardie or Ryan was motivated by discriminatory intent.

         To make out a Section 1983 claim against a school administrator arising from peer-to-peer

  harassment, in addition to alleging harassment and deliberate indifference, a plaintiff “must allege

  that the school administrator’s deliberate indifference was motivated by a discriminatory intent.”

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  Hurley, 911 F.3d at 703. Goldstein alleges no facts to support such an inference. Therefore, the

  claims against Hardie and Ryan must fail.

         Allegations Against Rector Hardie

         As to Rector Hardie, Plaintiff’s only allegation relates to a Board of Visitors meeting

  (which has nothing to do with Plaintiff), in which Hardie’s actions are more plausibly motivated

  by his role as Rector—maintaining order at Board meetings and ensuring the agenda is

  addressed—than by any discriminatory intent. See Manual of the Board of Visitors of Virginia, §

  2.38 (conduct of meetings shall observe Roberts’ Rules of Order). Plaintiff alleges nothing else

  relating to Hardie. Mandel I, 2018 WL 1242067, at *16 (dismissing claims where administrator

  was not “alleged to have played any direct role in either of the events, have knowledge of the

  alleged discriminatory conduct against plaintiffs, or have the authority to do anything about it”).

         Allegations Against President Ryan

         As to President Ryan, Plaintiff’s only allegation relates to a meeting Ryan had with Jewish

  students and parents. Plaintiff disliked the set-up of this meeting and complains that it took four

  months to schedule. But there are many plausible reasons President Ryan would have wanted the

  meeting to be confidential (such as to preserve the privacy interests that Plaintiff references in his

  Complaint), or why it may have taken a while to schedule—reasons which are entirely unrelated

  to Plaintiff’s constitutionally protected characteristics or activity. And Plaintiff offers no factual

  allegations on which the Court could reasonably infer some kind of discriminatory intent. Mandel

  I, 2018 WL 1242067, at *23 (dismissing claim because “there are no allegations that [defendant]

  herself took any affirmative actions against plaintiffs or otherwise acted with specific intent to

  discriminate against plaintiffs”).




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         Because Plaintiff has not pled severe, pervasive, or objectively offensive harassment, about

  which he put UVA, Ryan, or Hardie on actual notice, and to which they responded with deliberate

  indifference, and because Plaintiff fails to plead facts showing discriminatory intent by Ryan or

  Hardie, Plaintiff’s hostile environment claims fail.

  V.     Count II should be dismissed because Plaintiff’s claims against Hardie and Ryan are
         barred by the Eleventh Amendment and qualified immunity.56

         A.      Official-capacity claims against Hardie and Ryan must be dismissed.

         Plaintiff purports to sue President Ryan and Rector Hardie in both their official and

  personal capacities. 57 (Compl. ¶¶ 34, 38.) To the extent Plaintiff has brought claims against the

  President and Rector in their official capacities for monetary relief, those claims are barred by the

  Eleventh Amendment, as they are considered claims against UVA itself, which is an arm of the

  state and therefore immune to claims for damages. Brown v. Porter, No. 2:19-CV-376-RJK, 2019

  WL 8503313, at *12 (E.D. Va. Nov. 26, 2019), report and recommendation adopted as modified,

  438 F. Supp. 3d 679 (E.D. Va. 2020) (Section 1983 does not provide a remedy against state

  universities, which are immune from suit); Amison v. George Mason Univ., No. 23-1042, 2023

  WL 8946774, at *3 (4th Cir. Dec. 28, 2023) (“Similarly, as a state officer, Dimitriadis is entitled

  to sovereign immunity on the claims brought against him in his official capacity.”). The only

  exception under which Section 1983 claims are permitted against a state official is a narrow one—

  permitting prospective injunctive relief relating to an agency action or policy over which the named


  56
     Plaintiff’s claim under 42 U.S.C. §§ 1981 and 1983 appears to be against Rector Hardie and
  President Ryan. To the extent that Plaintiff attempts to allege a claim under 42 U.S.C. §§ 1981
  and 1983 against the Rector and Visitors of the University of Virginia, such claim fails because
  the Eleventh Amendment bars any form of relief. Tigrett v. Rector & Visitors of Univ. of Va., 97
  F. Supp. 2d 752, 756 (W.D. Va. 2000) (holding “the Rector and Visitors of the University, as an
  instrumentality of the state, is immune from suit in federal court”).
  57
     Ryan and Hardie are only listed in the case caption in their individual capacities, not official
  capacities. It is therefore not clear whether Plaintiff’s use of the word “official” in the Complaint
  allegations was a typographical error.
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  official has enforcement authority. Garner v. Steger, 69 F. Supp. 3d 581, 588 (W.D. Va. 2014).

  Plaintiff has not articulated the nature of any prospective injunction he seeks, nor explained how

  Defendants Ryan or Hardie are responsible for enforcement of any requested relief. Accordingly,

  all claims against Ryan and Hardie in their official capacities should be dismissed.

          B.      Plaintiff’s individual capacity claims fail to overcome qualified immunity.

          To the extent Plaintiff has brought Section 1981 and 1983 claims, which are collapsed into

  a Section 1983 claim, against Hardie and Ryan in their individual or personal capacity for monetary

  damages, there is no allegation of any action taken by either relating to Plaintiff. Even if Plaintiff

  had adequately alleged any claim against either in their personal capacity, Plaintiff’s claims against

  Hardie and Ryan must overcome the bar of qualified immunity. They do not.

          “In determining whether an individual is entitled to qualified immunity, a court must

  determine (1) ‘whether the facts that a plaintiff has alleged . . . make out a violation of a

  constitutional right’, and (2) ‘whether the right at issue was clearly established at the time of

  defendant’s alleged misconduct.’” Amison, 2023 WL 8946774, at *3 (citing Pearson v. Callahan,

  555 U.S. 223, 232 (2009)). “For a right to be ‘clearly established,’ some ‘existing precedent must

  have placed the statutory or constitutional question beyond debate.’” Brown, 2019 WL 8503313,

  at *14 (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011)). “[T]he focus is ‘not upon the right

  at its most general or abstract level, but at the level of its application to the specific conduct being

  challenged.’” Id. (quoting Zepp v. Rehrmann, 79 F.3d 381, 385 (4th Cir. 1996)). As the Fourth

  Circuit has put it, qualified immunity protects “all but the plainly incompetent or those who

  knowingly violate the law.” Rock for Life-UMBC v. Hrabowski, 411 F. App’x 541, 555 (4th Cir.

  2010) (citation omitted).




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         As already explained, Plaintiff has not shown that either Ryan or Hardie has violated any

  of his rights. Because no constitutional violation occurred at all, both Ryan and Hardie are entitled

  to qualified immunity. Moreover, Section 1983 does not permit vicarious liability, and Plaintiff

  has not pleaded that any of his alleged deprivation of any constitutional right is directly attributable

  to either Ryan or Hardie. See Iqbal, 556 U.S. at 676 (“Because vicarious liability is inapplicable

  to . . . § 1983 suits, a plaintiff must plead that each Government-official defendant, through the

  official’s own individual actions, has violated the Constitution.”). For this reason as well, Ryan

  and Hardie are entitled to immunity. Amison, 2023 WL 8946774, at *4 (granting qualified

  immunity because the defendant professor was not the person who disciplined plaintiff); Iota Xi

  Chapter Of Sigma Chi Fraternity v. Patterson, 566 F.3d 138, 149 (4th Cir. 2009) (dismissing

  Section 1983 claims because plaintiff did not name the actual university official who conducted

  the challenged disciplinary hearing). Plaintiff has not alleged any facts under which Ryan or

  Hardie deprived him of equal protection (including his rights under Section 1981 to racial equality)

  or his right to religious expression or free speech, and his general allegations about the climate at

  the University do not suffice to create liability under Section 1983.

         Finally, even if Plaintiff’s constitutional rights were somehow violated by either Rector

  Hardie’s call to order at the March Board meeting (Compl. ¶¶ 164-172); by President Ryan’s

  organization of, and follow-up email related to, the February parents’ meeting (id. ¶¶ 160-163); or

  by President Ryan’s decision not to interfere with the student Honor Committee proceedings that

  dismissed Plaintiff’s Charge (id. ¶¶ 186-196), there is absolutely no precedent which would make

  any related constitutional rule “clearly established.” With respect to the Rector, recent Supreme

  Court precedent indeed suggests just the opposite. Although the Rector did not censure any Board

  member, a “purely verbal” censure of one member of an elected body by other members of the



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  same body cannot support a First Amendment retaliation claim. See Wilson, 595 U.S. at 475, 482.

  Plaintiff cannot point to any case, much less a case on point, which would “place[] the

  constitutional question beyond debate.” Amison, 2023 WL 8946774, at *3 (quoting Ashcroft, 563

  U.S. at 741) (cleaned up).

         All claims against Ryan and Hardie should be dismissed.

                                         CONCLUSION

         WHEREFORE, the UVA Defendants respectfully request that all claims against the UVA

  Defendants be dismissed and any such further relief this Court deems just and necessary.



   Dated: July 16, 2024                                  /s/Jonathan T. Blank
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                                     CERTIFICATE OF SERVICE

            I certify that on July 16, 2024, I electronically filed the foregoing document with the Clerk

  of Court using the CM/ECF system, which will send a notification of such filing to all counsel of

  record.


                                                            /s/Jonathan T. Blank
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